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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT
____________________________________

 MIA CASTRO, M.D., et al                             )    CIVIL ACTION NO:
                                                     )
              Plaintiff,                                  3:20-cv-00330 (JBA)
                                                     )
    v.                                               )
                                                     )
 YALE UNIVERSITY, et al
                                                     )
              Defendant.                             )    October 21, 2020
____________________________________


 SECOND MOTION FOR EXTENSION OF TIME TO RESPOND TO DISCOVERY

         Pursuant to Fed. R. Civ. P. 6(b) and Local Rule 7(b), Defendant, Manuel Fontes

(“Defendant”), hereby moves for an extension of time of 45 days after the Court rules on the

undersigned’s Motion to Withdraw Appearances [Doc. No. 79], within which to serve

responses or objections to Plaintiffs’ discovery requests.

         In support of this motion, Defendant states as follows:

         1.       Plaintiffs served Interrogatories and Requests for Production (collectively,

“Discovery Requests”) on or around September 4, 2020, with responses due October 4, 2020.

         2.       On October 1, 2020, the Court granted Defendant a thirty-day extension to

respond, up through and including November 3, 2020. [Doc. No. 78.]

         3.       On October 1, 2020, Defendant’s counsel filed a Motion to Withdraw

Appearances [Doc. No. 79].

         4.       This is Defendant’s second request for an extension of time with respect to this

deadline.
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       5.      Good cause exists for the requested extension in order to allow the Court to rule

on the Motion to Withdraw Appearances, and to allow Defendant the time needed to obtain

replacement counsel.

       6.      Counsel for Defendant emailed counsel for the parties on the morning of

October 21, 2020 to determine if they consent or object to the requested extension. Counsel

for Plaintiff has not responded as of the time of this filing. Counsel for Defendants Yale

University and Yale New Haven Hospital, Inc., have no objection to the granting of this

motion.

       WHEREFORE, Defendant respectfully requests that the Court grant an extension of

45 days after the Court rules on the undersigned’s Motion to Withdraw Appearances [Doc. No.

79], within which to serve responses or objections to Plaintiffs’ discovery requests.

                                      THE DEFENDANT


                                      By:     /s/ Aimee J. Wood
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                                              Counsel for Manuel L. Fontes, M.D.
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                                       CERTIFICATION



       I hereby certify that on October 21, 2020, a copy of the foregoing was filed electronically

and served by mail on anyone unable to accept electronic filing. Notice of this filing will be served

by e-mail to all parties by operation of the court’s electronic filing system or by mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing.




                                              /s/ Aimee J. Wood
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